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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

    UBIQUITI NETWORKS, INC.,

                              Plaintiff,


                         v.

                                                         Civil Action No.: 1:18-cv-05369
    CAMBIUM NETWORKS, INC.;
    CAMBIUM NETWORKS, LTD.;                              JURY TRIAL DEMANDED
    BLIP NETWORKS, LLC;
    WINNCOM TECHNOLOGIES, INC.;
    SAKID AHMED; and
    DMITRY MOISEEV

                              Defendants.


                                   JOINT STATUS REPORT

       Plaintiff Ubiquiti Inc. (f/k/a Ubiquiti Networks, Inc.) (“Ubiquiti”), by and through its

undersigned counsel, and Defendants Cambium Networks, Inc., Cambium Networks, Ltd., Blip

Networks, LLC, Winncom Technologies, Inc., Sakid Ahmed and Dmitry Moiseev

(“Defendants”) (collectively Defendants and Ubiquiti are referred to as the “Parties”), by and

through their undersigned counsel, respectfully submit this Joint Status Report pursuant to the

Court’s order that the Parties “file a status report with a proposed protocol (or, if they cannot

agree, competing proposals) for Plaintiff’s production and Defendants’ review of the 18 Files”

and that “[t]he proposal(s) should take account of evolving social distancing orders and

guidelines.” Dkt. 141.

       The Parties met and conferred and agreed to the majority of the provisions of a source

code review protocol in the form of a revised protective order, which is attached as Exhibit A

(with redlines identifying the parties’ agreed upon revisions).



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       The only proposed revision on which the parties were not able to reach agreement is set

forth in the highlighted (redlined) section at paragraph 13(b)(1). Ubiquiti requests inclusion of

this subparagraph, and Defendants object to its inclusion. The parties’ respective positions are

described below.


       I.      Ubiquiti’s Position – Requesting Inclusion of Paragraph 13(b)(1)

       Ubiquiti proposes the inclusion of subsection 13(b)(1) to establish a process for

scheduling source code review in a manner that will prevent any scheduling/logistical disputes

from arising in the future (as has occurred previously), as well as to ensure that the party hosting

the source code review receives sufficient notice for preparation. Ubiquiti’s proposal should be

accepted for four reasons.

       First, though logistical in nature, the existing procedures resulted in a drawn out dispute

regarding source code review scheduling, with Defendants raising it in multiple substantive

filings after it arose (on March 4-6). Dkt. 110 p. 2; Dkt. 119, p. 2-3; Dkt. 130, p. 2. The purpose

of paragraph 13(b)(1) is to prevent such a dispute from arising in the future.

       Second, the balance of prejudice favors it. There is no prejudice to any party by

mandating communication, openness, and certainty in planning when it comes to scheduling

source code review. On the other hand, last-minute logistic tweaks with limited or no notice—as

arose above—may result in the lack of availability of necessary accommodations. This is

particularly significant since the review is to be conducted in the locale of experts with

substantial technical, security, and COVID-19 requirements (which among other tasks, will

require transfer of the source code computer from counsel’s office to the hosted space).

       Third, paragraph 13(b)(1) is flexible; it simply removes the possibility of unreasonable

demands for travel costs or expert fees unless concrete plans are unilaterally terminated. See Ex.



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A at ¶ 13(b)(1) (“The parties will work together to make reasonable accommodations outside

these procedures where necessary, but no party will be accountable for plans made without a

proper Calendared Notice or otherwise affected by conditions outside the control of the

parties.”).

        Fourth, paragraph 13(b)(1) requires only what is common practice in source code cases:

calendaring dates-and-times-certain—before dispatching an expert to travel—just as parties do

when scheduling depositions.

        Finally, it is noteworthy that Defendants have not objected to any specific provision

within these procedures, and instead have objected to the adoption of such procedures as a

whole. For the reasons set forth herein, the proposed procedures in paragraph 13(b)(1) are

reasonable and operate to the benefit of all parties and their experts, and should therefore be

adopted in the protective order.


        II.    Defendants’ Position – Objecting to Inclusion of Paragraph 13(b)(1)

        Defendants’ position is that proposed Paragraph 13(b)(1) sets out an overly complex and

unworkable procedure that is simply not necessary. The parties can provide reasonable notice

and response under Paragraph 13(b) without the 13(b)(1) framework, which does not allow for

how source code review is typically conducted. For example, if an approved expert wishes to

review code for an additional day beyond the previously “calendared” time period, the producing

party would be able to unilaterally prohibit such access based on a failure to send a certain

conforming “calendared notice” three days prior. Worse, an expert’s mere request for installation

of an additional review tool during an inspection would “vacate all then-pending Calendared

Notices,” and presumably allow for immediate removal of the expert and barring from further

review until the specified period lapses.



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       Moreover, the defined term “Calendared Notices” is itself an unworkable concept. These

notices “expire” (whatever that is intended to mean) at certain times of day, impose a redundant

notice requirement beyond the “five business days’ notice” in Paragraph 13(b), and add an

additional acceptance requirement that is entirely out of the reviewing party’s control. A

receiving party could simply refuse to accept any calendared notices and thereby thwart any

inspection.

       None of this complexity is necessary and is instead likely to lead to disputes that may

have to be resolved by the Court. The parties can reasonably work together to provide adequate

notice for review under Paragraph 13(b) without resorting to the additional complexity required

in Paragraph 13(b)(1).




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Dated: June 4, 2020                                  Respectfully submitted,



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